
668 S.E.2d 343 (2008)
STATE of North Carolina
v.
Anthony DOVE.
No. 131P01-8.
Supreme Court of North Carolina.
October 9, 2008.
Anthony Dove, Pro Se.
Kathleen U. Baldwin, Assistant Attorney General, C. Branson Vickory, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 26th day of June 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 9th day of October 2008."
